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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                      )
                                              )      Criminal No. 18-10364-DPW
               v.                             )
                                              )
JASIEL F. CORREIA, II,                        )
                                              )
            Defendant                         )

                    GOVERNMENT’S REVISED PROPOSED WITNESS LIST
       Pursuant to the Court’s December 15, 2020 Order, ECF Dkt. No. 154, the United States

of America hereby submits the revised list of witnesses it presently intends to call in its case-in-

chief against defendant Jasiel F. Correia, II with respect Counts 1-25. In addition, as per this

Court’s order, the parties hereby jointly request a back-up trial date of March 15, 2021, in the

event that COVID-19 prevents the trial from starting on February 22, 2021.

       The government and defense counsel are mindful of the logistical challenges posed by

the pandemic and thus are making every effort to streamline this matter for trial. To that end, in

addition to the previous stipulations regarding Counts 14-25, the government and defense have

now agreed to several additional stipulations with respect to Counts 1-13, including stipulations

regarding the authenticity of records from:       (1) Citizens’ Bank; (2) Santander Bank; (3)

Mechanic’s Bank; (4) Rockland Federal Credit Union; (5) Bank 5; (6) Webster Bank; (7)

Autobahn Car Dealership; (8) Boch Toyota; (9) Massachusetts Secretary of State (regarding

articles of incorporation and registration for corporate entities); and (10) Internal Revenue

Service (“IRS”) (certified tax returns and related records).        These additional stipulations

eliminated the need for as many as 10-12 trial witnesses.

       The list below has changed in three respects from the list the government filed in

October: (1) because the stipulations regarding Counts 14-25 were finalized, the government
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removed Keepers of The Records and a Cannabis Control Commission witness; (2) because

former co-defendant Andrade pled guilty, the government removed HUD-OIG ASAC Jessica

Thompson; and (3) the government added one additional witness for Counts 14-25 (John

Ferreira), as well as the witnesses for Counts 1-13. Should the government subsequently decide

to call additional witnesses, or remove existing witnesses, it will promptly notify the Court and

defense counsel.

              1. Melissa Ahaesy
              2. Sergio Arias
              3. Brian Bairos
              4. Nick Bernier
              5. Louis Bettencourt
              6. David Brayton
              7. David Cabeceiras, DMD
              8. Hildegar Camara
              9. Terrence Charest, CPA
              10. Natalie Cleveland
              11. Oteniel Correia
              12. Antonio Costa
              13. Nikki Custadio
              14. Mark Eisenberg
              15. John Ferreira
              16. Carl Garcia
              17. Joshua Harding
              18. Christopher Harkins
              19. David Hebert
              20. Michael Khoury
              21. Sandi Lemanski, Special Agent, IRS-CID
              22. Joseph Macy
              23. Victor Martinez
              24. Christopher Mello
              25. Alec Mendes
              26. Stephen Miller
              27. Pauline Nguyen
              28. Christopher Parayno
              29. Dina Pichette
              30. Matthew Pichette
              31. Charles Saliby

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              32. Sami Saliby
              33. Staff Sheehan
              34. Edward Silva
              35. Maria Soares
              36. Stacia Vieria
              37. Alex Vlahos



                                                   Respectfully submitted,

                                                   ANDREW E. LELLING
                                                   United States Attorney

                                           By:     /s/ Zachary R. Hafer
                                                   Zachary R. Hafer
                                                   David G. Tobin
                                                   Assistant U.S. Attorneys




                                  CERTIFICATE OF SERVICE
        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified in the Notice of Electronic Filing.


                                                          /s/ Zachary R. Hafer
                                                          Zachary R. Hafer
                                                          Assistant U.S. Attorney
Date: December 18, 2020




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